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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

CARIDAD AGUILAR and RAUL                          )
SOCORRO,                                          )
                                                  )
       Plaintiffs,                                )
                                                               No. 2:13-cv-2661 SHL-tmp
v.                                                )
                                                  )
ALLSTATE INDEMNITY COMPANY,                       )
                                                  )
       Defendant.                                 )

                                              ORDER


       This matter was set for trial on March 23, 2015, with a pretrial conference scheduled for

March 13, 2015. The proposed pretrial order was due to be submitted to the Court on March 6.

When the parties failed to submit a timely proposed joint pretrial order, the Court inquired as to

the status of the matter. It was only then that the Court was informed that the matter had settled

on January 26, 2015.

       Local Rule 83.13(a) states that counsel shall notify the Court immediately when a case is

settled, and shall promptly file a Notice of Settlement. This notification is critical for the Court

so that other matters may be scheduled in place of a case that is settled. Because of the failure of

the parties to follow the Local Rule and notify the Court until 6 weeks after a settlement had

been reached, other matters could not be scheduled in place of this trial.

       The parties therefore are instructed to follow the Local Rules and file a Notice of

Settlement in future cases as soon as settlement is reached.

       IT IS SO ORDERED, this 11th day of March, 2015.

                                               s/ SHERYL H. LIPMAN
                                               SHERYL H. LIPMAN
                                               UNITED STATES DISTRICT JUDGE
